08-13555-mg         Doc 42905-1    Filed 02/18/14 Entered 02/18/14 15:16:18          Certificate
                                     of Service Pg 1 of 2




                    HEARING DATE AND TIME: February 27, 2014 at 10:00 a.m. (Eastern Time)
                        RESPONSE DEADLINE: February 18, 2014 at 4:00 p.m. (Eastern Time)

CHAPMAN AND CUTLER LLP
111 West Monroe Street
Chicago, Illinois 60603
Telephone: (312) 845-3000
Franklin H. Top, III (admitted pro hac vice)

-and-
CHAPMAN AND CUTLER LLP
1270 Avenue of the Americas, 30th Floor
New York, New York 10020-1708
Telephone: (212) 655-6000
Craig M. Price (CP-9039)
Attorneys for U.S. Bank National Association, as Trustee

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

In re

LEHMAN BROTHERS HOLDINGS INC., et al.,              Case No. 08-13555 (SCC)

                                  Debtors.

                                    CERTIFICATE OF SERVICE

        I, Laura E. Appleby, an attorney, hereby certify that on the 18th day of February 2014, I
caused a true and correct copy of the Response of U.S. Bank National Association, as Trustee,
to the Debtors’ Four Hundred Fifty Third Omnibus Objection to Claims (Insufficient
Documentation Claims) With Respect to Claim Numbers 67150 and 67151 to be served
electronically through the Court’s ECF System on the parties requesting electronic service and
by U.S. Mail, First Class, Postage Prepaid, on the parties shown below.

The Chambers of the Honorable Shelley C. Chapman           Weil, Gotshal & Manges LLP
Courtroom 621                                              767 Fifth Avenue
One Bowling Green                                          New York, New York 10153
New York, New York 10004                                   Attn: Robert Lemons, Esq. and
                                                           Ralph Miller, Esq.




3543788.01.02.doc
08-13555-mg     Doc 42905-1     Filed 02/18/14 Entered 02/18/14 15:16:18     Certificate
                                  of Service Pg 2 of 2



The Office of the United States Trustee for Region 2
U.S. Federal Office Building
201 Varick Street, Suite 1006
New York, New York 10014
Attn: William K. Harrington, Esq., Susan Golden, Esq.
and Andrea B. Schwartz, Esq.


                                                            /s/ Laura E. Appleby
                                                  ____________________________________
                                                             Laura E. Appleby




                                            -2-
